     Case 2:90-cv-00520-KJM-SCR Document 8492 Filed 12/16/24 Page 1 of 14


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 8

 9                         IN THE UNITED STATES DISTRICT COURTS
10                        FOR THE EASTERN DISTRICT OF CALIFORNIA
11                      AND THE NORTHERN DISTRICT OF CALIFORNIA
12             UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
13               PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
14
        RALPH COLEMAN, et al.,                           Case No. 2:90-cv-00520-KJM-DB
15
                                        Plaintiffs,      THREE-JUDGE COURT
16
       v.
17

18      GAVIN NEWSOM, et al.,
19                                    Defendants.
20

21      MARCIANO PLATA, et al.,                          Case No. 4:01-cv-01351-JST

22                                      Plaintiffs,      THREE-JUDGE COURT

23     v.
                                                         Defendants’ December 2024 Quarterly
24                                                       Status Report in Response to February 10,
        GAVIN NEWSOM, et al.,                            2014 and March 25, 2022 Orders
25
                                      Defendants.
26

27

28

                                                                      Defs.’ Dec. 2024 Quarterly Status Report
                                                      Case Nos. 2:90-cv-00520-KJM-DB & 4:01-cv-01351-JST
     Case 2:90-cv-00520-KJM-SCR Document 8492 Filed 12/16/24 Page 2 of 14


 1             The State submits this quarterly status report in response to this Court’s February 10, 2014

 2    order (ECF No. 2766/5060) 1 to reduce the California Department of Corrections and

 3    Rehabilitations (CDCR) adult prison population to 137.5 percent of design capacity, and its

 4    March 25, 2022 order reducing the frequency of these reports from monthly to quarterly (ECF

 5    No. 3795/7515). Exhibit A provides statewide and prison-specific population data, including the

 6    current design capacity, population, and population as a percentage of design capacity. Exhibit B

 7    provides updates on population reduction measures, including those Defendants implemented in

 8    response to the February 10, 2014 order, and the durability of those measures. Defendants first

 9    informed this Court that CDCR’s adult prison population was below the 137.5 percent population

10    cap on February 17, 2015 (ECF No. 2838/5278) and have complied with that cap for nearly ten

11    years.

12             CDCR’s institutional design capacity was 70,442 as of December 4, 2024. (Ex. B at 2.) As

13    of December 4, 2024, 88,670 incarcerated people are housed in the State’s adult institutions,

14    occupying approximately 125.9% of institutional design capacity. (Ex. A at 1. 2) None are housed

15    in out-of-state facilities. 3

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       All filings in this Three-Judge Court are included in the individual docket sheets of both Plata v.
24    Newsom, No. 01-cv-01351-JST (N.D. Cal.) and Coleman v. Newsom, No. 2:90-cv-00520-KJM-
      DB (E.D. Cal.). Docket citations to this Court’s orders cite to the docket number of Plata first,
25    and Coleman second.
26    2
          The attached Exhibit A is available on CDCR’s website at Tpop1d241204.pdf.
27    3
        This statistic concerns incarcerated people in out-of-state contract beds and does not include
      those housed in other states under interstate compact agreements.
28

                                                                         Defs.’ Dec. 2024 Quarterly Status Report
                                                         Case Nos. 2:90-cv-00520-KJM-DB & 4:01-cv-01351-JST
     Case 2:90-cv-00520-KJM-SCR Document 8492 Filed 12/16/24 Page 3 of 14


 1     Dated December 16, 2024                  ROB BONTA
                                                Attorney General of California
 2

 3                                              /s/ Corinna S. Arbiter            .
                                                DAMON G. MCCLAIN
 4                                              Supervising Deputy Attorney General
                                                CORINNA ARBITER
 5                                              Deputy Attorney General
                                                Attorneys for Defendants
 6

 7     Dated: December 16, 2024                 HANSON BRIDGETT LLP
 8
                                                /s/ Samantha D. Wolff                     ..
 9                                              PAUL B. MELLO
                                                SAMANTHA D. WOLFF
10                                              Attorneys for Defendants
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                                                            Defs.’ Dec. 2024 Quarterly Status Report
                                            Case Nos. 2:90-cv-00520-KJM-DB & 4:01-cv-01351-JST
Case 2:90-cv-00520-KJM-SCR Document 8492 Filed 12/16/24 Page 4 of 14




                       EXHIBIT A
             Case 2:90-cv-00520-KJM-SCR Document 8492 Filed 12/16/24 Page 5 of 14
California Department of Corrections and Rehabilitation
Division of Correctional Policy Research and Internal Oversight
Office of Research
December 4, 2024

                                            Weekly Report of Population
                                          As of Midnight December 4, 2024

                                               Total CDCR Population

                                                     Felon/       Change Since Change Since Design    Percent Staffed
Population                                            Other         Last Week    Last Year  Capacity Occupied Capacity

A. Total In-Custody/CRPP Supervision                  91,719            -208       -2,825
 I.    In-State                                       91,719            -208       -2,825
         (Men, Subtotal)                              88,049            -207       -2,704
         (Women, Subtotal)                             3,670              -1         -121
   1. Institution/Camps                               90,464            -199       -2,814    73,910    122.4   101,890
       Institutions                                   88,670            -157       -2,759    70,442    125.9    98,422
       Camps(CIW and SCC)                              1,794             -42          -55     3,468     51.7     3,468
   2. In-State Contract Beds                                  3            0           -5
       Community Participant Mother Program                   3            0           -5
   3. Department of State Hospitals                      168              -1          +54
   4. CRPP Supervision                                 1,084              -8          -60
       Alternative Custody Program                        19              -2          -95
       Female Community Reentry Program                  364              -5          -11
       Male Community Reentry Program                    664              +1          +63
       Medical Parole                                     32              -2          -12
       Medical Reprieve Program                            5               0           -5
B. Parole                                             34,673             -14         -826
    Community Supervision                             33,191              -8         -876
    Interstate Cooperative Case                        1,482              -6          +50
C. Non-CDCR Jurisdiction                                 730              -3          -37
    Other State/Federal Institutions                     209               0          -16
    Out of State Parole                                  501              -2          -18
    Out of State Parolee at Large                         20              -1           -1
D. Other Populations                                   6,886             -13         -443
    Temporary Release to Court and Hospital            1,410             -28         -169
    Escaped                                              190              +1           -5
      Parolee at Large                                 5,286             +14         -269
Total CDCR Population                                134,008            -238       -4,131
This report contains the latest available reliable population figures from SOMS.       They have been carefully
audited, but are preliminary, and therefore subject to revision.




Report #: SOMS-TPOP-1, Page 1
               Case 2:90-cv-00520-KJM-SCR Document 8492 Filed 12/16/24 Page 6 of 14
California Department of Corrections and Rehabilitation
Division of Correctional Policy Research and Internal Oversight
Office of Research
December 4, 2024

                                            Weekly Report of Population
                                          As of Midnight December 4, 2024

                                       Weekly Institution Population Detail


                                                                  Felon/       Design     Percent    Staffed
Institutions                                                       Other      Capacity   Occupied   Capacity

Avenal State Prison (ASP)                                          3,877        2,509      154.5      3,759
Calipatria State Prison (CAL)                                      2,456        2,308      106.4      3,433
California Correctional Institution (CCI)                          1,785        1,508      118.4      2,227
Central California Women's Facility (CCWF)                         2,102        1,986      105.8      2,946
Centinela State Prison (CEN)                                       2,868        2,308      124.3      3,433
California Health Care Facility - Stockton (CHCF)                  2,101        2,953       71.1      2,953
California Institution for Men (CIM)                               2,181        1,524      143.1      2,105
California Institution for Women (CIW)                             1,213        1,281       94.7      1,743
California Men's Colony (CMC)                                      2,239        2,613       85.7      2,543
California Medical Facility (CMF)                                  1,925        2,229       86.4      2,657
California State Prison, Corcoran (COR)                            2,722        2,222      122.5      3,199
California Rehabilitation Center (CRC)                             2,862        1,722      166.2      2,579
Correctional Training Facility (CTF)                               4,470        2,800      159.6      4,125
Folsom State Prison (FOL)                                          2,828        2,065      136.9      3,021
High Desert State Prison (HDSP)                                    2,851        2,337      122.0      3,442
Ironwood State Prison (ISP)                                        2,955        2,208      133.8      3,283
Kern Valley State Prison (KVSP)                                    3,217        2,156      149.2      3,136
California State Prison, Los Angeles County (LAC)                  3,275        2,200      148.9      3,250
Mule Creek State Prison (MCSP)                                     3,877        3,088      125.6      3,811
North Kern State Prison (NKSP)                                     3,002        2,694      111.4      4,011
Pelican Bay State Prison (PBSP)                                    2,115        1,804      117.2      2,441
Pleasant Valley State Prison (PVSP)                                2,913        2,308      126.2      3,433
RJ Donovan Correctional Facility (RJD)                             2,995        2,800      107.0      3,750
California State Prison, Sacramento (SAC)                          2,253        1,508      149.4      2,045
California Substance Abuse Treatment Facility (SATF)               5,333        3,424      155.8      5,111
Sierra Conservation Center (SCC)                                   4,189        4,972       84.3      5,804
California State Prison, Solano (SOL)                              3,871        2,594      149.2      3,866
San Quentin Rehabilitation Center (SQ)                             2,980        3,084       96.6      3,935
Salinas Valley State Prison (SVSP)                                 2,506        1,760      142.4      2,471
Valley State Prison (VSP)                                          3,257        1,961      166.1      2,931
Wasco State Prison (WSP)                                           3,246        2,984      108.8      4,447

Institution Total                                                 90,464       73,910      122.4    101,890




Report #: SOMS-TPOP-1, Page 2
            Case 2:90-cv-00520-KJM-SCR Document 8492 Filed 12/16/24 Page 7 of 14
California Department of Corrections and Rehabilitation
Division of Correctional Policy Research and Internal Oversight
Office of Research
December 4, 2024

                                          Weekly Report of Population
                                        As of Midnight December 4, 2024

                                                     Notes


       Felon/Other counts are felons, county contract boarders, federal boarders, state boarders,
       safekeepers, county diagnostic cases, Department of Mental Health boarders, and Division of
       Juvenile Justice boarders.

       Interstate Cooperative Cases are parolees from other states being supervised in California.

       Non-CDCR Jurisdiction are California cases being confined in or paroled to other states or
       jurisdictions.

       Welfare and Institution Code (W&IC) 1731.5(c) covers persons under the age of 21 who were
       committed to CDCR, had their sentence amended, and were incarcerated at the Division of Juvenile
       Justice for housing and program participation.

       Other Population includes inmates temporarily out-to-court, inmates in hospitals, escapees, and
       parolees at large.




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                       EXHIBIT B
                 Case 2:90-cv-00520-KJM-SCR Document 8492 Filed 12/16/24 Page 9 of 14
STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION                    GAVIN NEWSOM, GOVERNOR

OFFICE OF LEGAL AFFAIRS
Jennifer Neill
General Counsel
P.O. Box 942883
Sacramento, CA 94283-0001




           December 11, 2024


           Paul Mello
           Hanson Bridgett
           1676 N. California Boulevard, Suite 620
           Walnut Creek, CA 94596

           Dear Mr. Mello:

           Attached please find the California Department of Corrections and Rehabilitation’s December
           2024 quarterly Status Update for the Three-Judge Court proceeding.


           Sincerely,




           Jennifer Neill
           General Counsel
           Office of Legal Affairs
           California Department of Corrections and Rehabilitation

           cc: Corinna Albiter, Deputy Attorney General
                Case 2:90-cv-00520-KJM-SCR Document 8492 Filed 12/16/24 Page 10 of 14



STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION, GAVIN NEWSOM, GOVERNOR




                           December 2024 Quarterly Update to the Three-Judge Court

            On February 10, 2014, the Three-Judge Court ordered California Department of Corrections and
            Rehabilitation (CDCR) to reduce the in-state adult prison population to 137.5 percent of design
            capacity by February 28, 2016. (ECF Nos. 2766/5060 & 2767/5061.) Defendants first informed
            the Court that its population was below 137.5 percent of design capacity on February 17, 2015
            (ECF No. 2838/5278). Since then, Defendants have submitted 92 reports. Defendants have
            complied with the population cap for nearly ten years. On March 25, 2022, the Court granted
            Defendants’ unopposed motion to reduce the frequency of these reports from monthly to
            quarterly. (ECF No. 3795/7515.) As a result, reports are filed on the 15th of March, June,
            September, and December of each year, until further order of the Court.

            As of December 4, 2024, CDCR’s institutional design capacity was 70,442, 1 and the adult
            institutional population occupied 125.9 percent of design capacity. (See Exhibit A at 1,
            attached.) Below are updates regarding Defendants’ population reduction efforts and evidence
            of durable compliance with the 137.5 percent benchmark.

            A. Update on Proposition 57 Measures:
            Proposition 57, passed in November 2016, is the State’s durable remedy that enacts many Court-
            ordered reforms, expands credit-earning opportunities, and creates a parole consideration process
            for nonviolent incarcerated persons who have served the full term of their primary offense in
            state prison. Information about these regulations can be found at
            https://www.cdcr.ca.gov/proposition57/. Details regarding measures CDCR implemented can be
            found in previously filed monthly status reports. (See, e.g., ECF No. 3769/7423 (Jan. 18, 2022).)
            Updated statistics showing the impact of these regulations are included below.

                1. Increased credit-earning opportunities for all incarcerated persons except the condemned
                   and those serving life without parole sentences:
                    4,327 incarcerated persons released between September 1, 2024, and November 30, 2024, earned
                    an estimated average of 316.6 days of additional credit towards their advance release date. 2
                    This does not include incarcerated persons released from fire camps.

                2. Determinately-sentenced nonviolent offender parole process:
                    Between July 1, 2017, and November 30, 2024, CDCR has made 39,581 referrals to the

            1
             Effective November 1, 2024, the CDCR’s design capacity changed due to the official closure of
            Chuckawalla Valley State Prison.
            2
             In December 2023, the Superior Court of California, County of Sacramento, held in Criminal Justice
            Legal Foundation, et al. v. the California Department of Corrections and Rehabilitation, et al., Case No.
            34-2022-80003807- CU-WM-GDS, that CDCR exceeded its authority by promulgating regulations
            allowing application of earned credits towards an incarcerated person’s Minimum Eligible Parole Date.
            CDCR and the Board of Parole Hearings filed an appeal.
   Case 2:90-cv-00520-KJM-SCR Document 8492 Filed 12/16/24 Page 11 of 14



      Board of Parole Hearings (Board) for this parole process. The Board has reviewed
      35,628 of these referrals on the merits, approving 4,936 incarcerated persons for release
      and denying 30,692. 3,625 referrals have been closed because the Board’s jurisdictional
      review of the incarcerated persons’ criminal history and central file revealed they were
      not eligible for parole consideration. The remaining referrals are pending review,
      including those within the 30-day period for written input from incarcerated persons,
      victims, and prosecutors.

   3. Indeterminately-sentenced nonviolent offender parole process:
      Since January 2019, when CDCR began screening indeterminately-sentenced nonviolent
      offenders for eligibility, CDCR has referred 3,066 incarcerated persons to the Board for a
      parole consideration hearing. As of November 30, 2024, 141 of these referrals were
      closed because the Board’s jurisdictional review of criminal histories and central files
      revealed those incarcerated persons were not eligible for parole consideration. To date,
      the Board has conducted 3,444 hearings for indeterminately-sentenced nonviolent
      offenders resulting in 907 grants, 2,170 denials, and 367 stipulations to unsuitability. An
      additional 3,108 hearings were scheduled, but postponed, waived, continued, or canceled.
      The remaining referrals are pending parole consideration hearings.

B. Updates on Other Population Reduction Measures:

   1. Expanded medical parole process:
      The Board conducts expanded medical parole hearings for incarcerated persons referred to
      the Board by the head physician at their institutions. The Board’s medical parole hearing
      decision approving an incarcerated person for placement in a skilled nursing facility is
      forwarded to the California Correctional Health Care Services (CCHCS) and the
      Receiver’s Office. Then, the incarcerated person is placed in a community facility that will
      accept the person and enforce any restrictions imposed by the Board. If CCHCS is unable
      to place the incarcerated person within 120 days of the decision, the decision expires, and
      the person remains in CDCR custody. Between July 1, 2014, and December 9, 2024, the
      Board has held 399 medical parole hearings, resulting in 276 approvals and 123 denials.
      An additional 112 hearings were scheduled, but postponed, continued, or canceled.
      The Department’s contract with a community skilled nursing facility will terminate on
      December 31, 2024. Referrals for consideration of expanded medical parole have been
      paused. Individuals placed at the community facility will return to CDCR institutions if
      not released or paroled in other ways. As of December 10, 2024, 11 persons have returned
      to CDCR institutions.
Case 2:90-cv-00520-KJM-SCR Document 8492 Filed 12/16/24 Page 12 of 14




2. Parole process for elderly incarcerated persons:
   Under Penal Code section 3055, incarcerated persons aged 50 and above who serve at least
   20 years of continuous incarceration qualify for elderly parole consideration.
   Certain persons sentenced under strike-sentencing laws (Penal Code sections 667(b)-(i)
   or 1170.12) or convicted of first-degree murder of a peace officer are excluded from the
   statutory scheme but are eligible for elderly parole consideration as set forth in the
   February 10, 2014 order, which covers incarcerated persons aged 60 and above who serve
   at least 25 years of continuous incarceration. Previous status reports further detail these
   parole processes. (See, e.g., ECF No. 3769/7423 (Jan. 18, 2022).)

   Between February 11, 2014, and November 30, 2024, the Board has held 12,292 hearings
   for eligible incarcerated persons, resulting in 3,511 grants, 7,622 denials, and 1,159
   stipulations to unsuitability. The Board scheduled 7,726 additional hearings that were
   waived, postponed, continued, or canceled.

3. Enhanced Alternative Custody Program:
   In 2024, CDCR adopted regulations for the Enhanced Alternative Custody Program (EACP),
   encompassing the Male Community Reentry Program (MCRP), the Female Community Reentry
   Program (FCRP; previously named the Custody to Community Transitional Reentry Program
   (CCTRP)), and the Community Participant Mother Program (CPMP). An EACP is a voluntary
   alternative custody program that allows eligible incarcerated persons to serve the remainder of
   their sentence in a community facility administered by the Division of Rehabilitative Programs in
   lieu of confinement in a state prison. (Cal. Code Regs. tit. 15, § 3078.1.)

            a. Male community reentry programs:
               The State continues to refer eligible incarcerated persons for possible
               placement in Male Community Reentry Programs (MCRPs). The State
               contracts with MCRP facilities in San Diego, Los Angeles, Kern, and Butte
               counties. As of December 4, 2024, 664 incarcerated persons are housed in
               MCRP facilities.

            b. Female Community Reentry Program:
                As of December 4, 2024, 364 women are participating in the FCRP, and are
                housed at facilities in San Diego, Santa Fe Springs, Bakersfield, Stockton,
                Sacramento, and Los Angeles.
            c. Community Participant Mother Program:
               As of December 4, 2024, three incarcerated people are housed at the CPMP
               in contracted, in-state beds. (See Exhibit A.)
    Case 2:90-cv-00520-KJM-SCR Document 8492 Filed 12/16/24 Page 13 of 14



    4. Incarcerated Persons Released Under Proposition 36
       Proposition 36, passed in November 2012, revised the State’s three-strikes law to permit
       resentencing for qualifying incarcerated persons whose third strike was not serious or
       violent. As of November 30, 2024, approximately 2,2594 persons have been released
       under this measure.

    5. Incarcerated Persons Released Under Proposition 47
       Proposition 47, passed on November 4, 2014, requires misdemeanor rather than felony
       sentencing for certain property and drug crimes and permits incarcerated persons
       previously sentenced for these reclassified crimes to petition for resentencing. As of
       November 30, 2024, approximately 4,763 persons have been released under this
       measure.
4
 This number excludes incarcerated people who were eligible for Proposition 36 resentencing but
released in other ways (e.g. Proposition 47 resentencing or nonviolent parole process).
    Case 2:90-cv-00520-KJM-SCR Document 8492 Filed 12/16/24 Page 14 of 14



                                 CERTIFICATE OF SERVICE
Case Name:       Three-Judge Panel Proceeding             Nos.
                 Pursuant to 28 U.S.C. § 2284                     2:90-cv-00520-KJM-DB
                       Coleman, et al. v.
                 Newsom, et al.                                   4:01-cv-01351-JST
                       USDC, Eastern District of
                 California, Case No.
                2:90-cv-00520-KJM-DB
                       Plata, et al. v. Newsom, et
                 al.
                       USDC, Northern District
                 of California, Case No.
                 4:01-cv-01351-JST

I hereby certify that on December 16, 2024, I electronically filed the following documents with
the Clerk of the Court by using the CM/ECF system:

DEFENDANTS’ DECEMBER 2024 QUARTERLY STATUS REPORT IN RESPONSE
TO FEBRUARY 10, 2014 AND MARCH 25, 2022 ORDERS; EXHIBITS A AND B


I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on December
16, 2024, at San Diego, California.


                C. F. Krystoff
                  Declarant                                          Signature
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